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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00211-PAB

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1.     RONALD PHILIP WALLACE, and
2.     STACE YATER WALLACE,

       Defendants.


                    UNITED STATES’ MOTION TO RESTRICT DOC. NO. 51


       The United States of America, by and through Cole Finegan, United States

Attorney for the District of Colorado, and Robert Brown, Assistant United States

Attorney, pursuant to D.C.COLO.LCrR respectfully moves to restrict the document filed

at Doc. No. 51, any order revealing the contents of that document, and the brief filed in

support of this motion filed at Doc. No. 51, for the reasons stated in the brief filed in

support of this motion.

       The United States requests a “Level 3” restriction. Pursuant to D.C.COLO.LCrR

47.1(b), “Level 3” restriction would make the document, any order revealing the

contents of that document, and the brief filed in support of this motion accessible to the

government and the Court.
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                                   Respectfully submitted,

                                   COLE FINEGAN
                                   United States Attorney

                                   By:    s/Robert Brown
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                             CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2023, I electronically filed the UNITED
STATES’ MOTION TO RESTRICT DOC. NO. 51 with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to all counsel of record
in this case.


                                         s/Elaina Wohr
                                         Elaina Wohr
                                         Legal Assistant




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